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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

    IN REI IN RE: OIL SPILL BY THE OIL RIG                   MDL NO.: 2179
    “DEEPWATER HORIZON” IN THE GULF OF
    MEXICO, ON APRIL 20, 2010                                SECTION: J

    THIS DOCUMENT RELATES TO:                                JUDGE BARBIER

    In Re: Triton Asset Leasing GmbH, et. al.                MAG. JUDGE
    Case No. 2:10-cv-02771-CJB-SS, [Rec. Doc. 433]           SHUSHAN


                                          ORDER

       Considering the above and foregoing Joint Motion to Substitute Counsel of Record,

       IT IS HEREBY ORDERED that David B. Franco and James R. Dugan, II of The

Dugan Law Firm, APLC, be and are hereby withdrawn as counsel of record for Claimant-in-

Limitation, Doran Seafood, LLC, and Deborah A. Pearce of Deborah A. Pearce, LLC be and is

hereby enrolled as counsel for Claimant-in-Limitation.

        Signed in New Orleans, Louisiana this ________ day of _____________, 2012.


                                            _____________________________________
                                               UNITED STATES DISTRICT JUDGE
